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                           IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

  DELOITTE CONSULTING LLP and                   )
  DELOITTE DEVELOPMENT LLC,                     )
                                                )
             Plaintiffs,                        )
                                                )
        v.                                      ) C.A. No. 23-325-WCB
                                                )
  SAGITEC SOLUTIONS, LLC,                       )
                                                )
             Defendant.                         )


                                   NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on March 21, 2025, the following documents were served

 on Team-Sagitec@thompsonhine.com and the persons listed below in the manner indicated:

    1) Deloitte’s Fifth Supplemental Responses and Objections to Sagitec Solutions LLC’s First
       Set of Interrogatories (Nos. 1-9)

    2) Deloitte’s Third Supplemental Responses and Objections to Sagitec Solutions LLC’s
       Third Set of Interrogatories (12-15)

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  Dated: March 24, 2025
